Case 2:02-cv-02920-.]DB-dkv Document 162 Filed 05/05/05 Page 10f2 Pag

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IN THE UNITED srATEs DISTRICT coURT
FoR THE WESTERN DIsTRIcT oF TENNESSEE 35 am ..;; pg ;_¢ 93
WESTERN DIVISIoN ' ` ` ` ‘

JERRY L. BILLINGSLEY,

 

Plaintiff,
v. NO. 02»2920-B/V
SHELBY COUNTY, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the Court is the pg § Plaintiff’s Request for Subpoenas for the Appearance in
Court of the Following Witnesses filed on April 29, 2005.

This request is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’S order will
constitute a waiver of that objection. §_e§ Rule 72(a), Federal Rules of Civil Procedure.

IT Is so om)ERED this 3 day Of May, 2005.

ada

J. DANIEL BREEN
NIT D STATES DISTRICT JUDGE

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Thl's document entered on the docket sheet in comp!iancs
with Fiule 58 and/or 79(a} FHCP on / ’O

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number l62 in
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Honorable .l. Breen
US DISTRICT COURT

